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 Fill in this information to identify your case:

 Debtor 1                  Wanda Mae Neube-Marshall
                           First Name                       Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                 Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Nationstar Credit Corporation                         Surrender the property.                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a          Yes
    Description of        4425 Old York Road Baltimore,                      Reaffirmation Agreement.
    property              MD 21218 Baltimore City County                     Retain the property and [explain]:
    securing debt:



    Creditor's         Nationstar Credit Corporation                         Surrender the property.                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a          Yes
    Description of        3319 West Caton Avenue,                            Reaffirmation Agreement.
    property              Baltimore, MD 21229                                Retain the property and [explain]:
    securing debt:



    Creditor's         Ocwen                                                 Surrender the property.                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a          Yes
    Description of        9120 Georgia Belle Drive, Perry                    Reaffirmation Agreement.
    property              Hall, MD 91128                                     Retain the property and [explain]:


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 Debtor 1      Wanda Mae Neube-Marshall                                                               Case number (if known)


    securing debt:



    Creditor's     Shell Point Mortgage Service                             Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      9120 Georgia Belle Drive, Perry                     Reaffirmation Agreement.
    property            Hall, MD 21128                                      Retain the property and [explain]:
    securing debt:



    Creditor's     Toyota Financial                                         Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2014 Toyota RAV 52000 miles                         Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:                                                        retain and pay pursuant to contract


    Creditor's     Toyota Financial                                         Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2014 Toyota Tacoma Extended                         Reaffirmation Agreement.
    property            Cab 51000 miles                                     Retain the property and [explain]:
    securing debt:                                                        retain and pay pursuant to contract


    Creditor's     Toyota Financial                                         Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2014 Toyota Corolla 59000 miles                     Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:                                                        retain and pay pursuant to contract

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Wanda Mae Neube-Marshall                                                              Case number (if known)



 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Wanda Mae Neube-Marshall                                                 X
       Wanda Mae Neube-Marshall                                                         Signature of Debtor 2
       Signature of Debtor 1

       Date        April 11, 2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 3

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